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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:21-cr-225 (DLF)
       v.                                    :
                                             :
TRENISS JEWELL EVANS III,                    :
                                             :
               Defendant.                    :

        UNITED STATES’ UNOPPOSED MOTION FOR EXTENSION OF TIME
                      TO RESPOND TO COURT ORDER

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves for a seven-day extension of time, until February 8,

2023, to respond to the Order issued by this Court on January 26, 2023, directing the government

to state its position regarding the availability of intermittent confinement. As explained below,

there is good cause for the extension of time sought in this motion.

       In March 2022, Evans pleaded guilty pursuant to a plea agreement to entering and

remaining in a restricted building or grounds, in violation of 18 U.S.C. § 1752(a)(1). In November

2022, this Court sentenced Evans to 36 months of probation, with a special condition of 20 days

of intermittent confinement; a $5,000 fine; $500 in restitution; and a $25 mandatory assessment.

       On January 23, 2023, the Probation Office requested that the Court vacate Evans’ special

condition of intermittent confinement and modify his special conditions. ECF No. 70 at 1. Evans

agreed to the modification proposed by the Probation Office, and the government did not oppose

it. On January 26, 2023, the Court issued an order directing the government to “provide the Court

with a status report, on or before February 1, 2023, stating its position on the availability of

probation with intermittent confinement at sentencing.” 1/26/23 Order.



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       Good cause exists for the seven-day extension of time requested in this motion. A proper,

informed response to the Court’s January 26 order requires consultation between the United States

Attorney’s Office (USAO) and other stakeholders, including the Bureau of Prisons and the

Probation Office. The USAO and other stakeholders are engaged in this consultation process, but

additional time is needed to complete the process. We expect that the government will be in a

position to provide an informed assessment of the question presented by February 8, 2023.

       I have conferred with Steven Metcalf, counsel for the defendant, about this motion. Mr.

Metcalf indicated that the defendant does not object to the extension of time sought in this motion.

       Accordingly, the government respectfully requests that this Court grant a seven-day

extension of time, until February 8, 2023, to respond to the Order issued by this Court on January

26, 2023.

January 31, 2023                      Respectfully submitted,

                                      MATTHEW M. GRAVES
                                      UNITED STATES ATTORNEY
                                      D.C. Bar No. 481052

                              By:     /s/ Francesco Valentini
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